Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 1 of 44 PagelD #: 3691

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x
UNITED STATES OF AMERICA
Case # 1:17-cr-00664-RJD-RER-2
NOTICE OF MOTION TO
TERMINATE SUPERVISED
RELEASE
V.
GEORGE PADULA III
x

PLEASE TAKE NOTICE, that pursuant to 18 U.S.C. § 3583 (e)(1) and §3553(a), Federal
Procedure Rule 32.1 (c), Local Criminal Rule 34.1, and upon the affirmation of Paul D. Petrus
Jr., attorney for the Releasee, and upon the judgment of conviction, any exhibits attached hereto,
and all prior papers and proceedings herein, the Releasee moves this court for the following
relief:

1. Termination of his Supervised Release; and
2. Such other relief as is just and proper.

Dated: September 20, 2023
New York, NY

Paul D. Petrus Jr. & Associates, P.C.
Law Firm for George Padula III

The Graybar Building

420 Lexington Avenue, Suite 2450
New York, NY 10170
212.564.2440 (Office)

Pauli@petruslaw.com

Page | of 9
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 2 of 44 PagelD #: 3692

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x
UNITED STATES OF AMERICA
Case # 1:17-cr-00664-RJD-RER-2
DECLARATION IN SUPPORT
Vv. OF MOTION TO TERMINATE
SUPERVISED RELEASE
GEORGE PADULA III
x
STATE OF NEW YORK)
SS.:
COUNTY OF NEW YORK)

I, Paul D. Petrus Jr., an attorney duly authorized to practice law before the Courts of the

State of New York, hereby declare under the penalties of perjury:

il. I am an attorney licensed in the State of New York. I represent the Releasee, George
Padula (“the Releasee’’), in the above-captioned matter.

Dm I submit this Affirmation in support of the Releasee’s Motion to Terminate his
Supervised Release. The sources of information and grounds for belief are conversations
between the Releasee and I, examination of the papers filed in this proceeding, and my
independent investigation. Statements as to legal authority are upon information and
belief based upon my research.

Attached are the following exhibits:

A. Presentence Investigation Report;
B. Docket Sheet from Pacer;

C. June 29, 2022 Psychiatric Evaluation of the Releasee;

Page 2 of 9
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 3 of 44 PagelD #: 3693

D. Employment Verification from Genco Management Co Inc;

E. University of Phoenix Transcript and Dean’s List Letter; and

F. University of Phoenix Nomination to the National Society of Leadership and
Success.

Procedural Posture

1. On December 15, 2017, the Releasee was arrested.

D On September 21, 2020, the Releasee pled Guilty to Wire Fraud Conspiracy (18 U.S.C.
§1349, 18 U.S.C. §1343), Aggravated Identity Theft (18 U.S.C. §1028A(a)(1), 18 U.S.C.
§1028A(b), 18 U.S.C. §1028A(c)(5), and Threatening Physical Violence in Furtherance
of a Plan to Extort Co-Conspirator 1 (18 U.S.C. §1951(a) (See Exhibit A [Presentence
Investigation Report)).

3. On June 28, 2021, the Releasee was sentenced as follows: “Count One and Seven to 42
months, both sentences to run concurrently to each other. Count Two, the sentence is 24
months to run consecutively to the sentences impose on Count One and Seven.” (See
Exhibit B [Docket Sheet from Pacer]), and to two-years of supervised release (See
Exhibit B). He was also ordered to pay Criminal Monetary Penalties in the amount of
$559,911.26, jointly with one (1) of his co-Releasees at a rate of 10% of gross monthly

income while on supervised release.

4. On February 24, 2022, the Releasee was transferred to a halfway house.
53 On August 16, 2022, the Releasee completed his time at the halfway house.
6. To date, the Releasee has had no Release Violations.

Relevant Factual Backeround

Page 3 of 9
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 4 of 44 PagelD #: 3694

1; The charges against the Releasee were that, between June 2015 and August 2016, he and
his co-defendants conspired to execute a scheme to defraud businesses, obtaining money
and property from them by means of materially false and fraudulent pretenses,
representations, and promises (Exhibit A, PSR, p. 4).

2. In the summer of 2015, the three (3) Defendants jointly agreed to defraud companies
seeking to purchase scrap medal (/d. at 79).

Argument
Standard of Review
1. Pursuant to 18 U.S.C. 3583(e)(1), a defendant is eligible for early termination of
supervised release after one year of supervised release if the Court is satisfied that such
action is warranted by the conduct of the defendant and interests of justice.

2. 18 U.S.C. § 3583(e)(1) directs the Court to consider the appropriate factors in 18 U.S.C.
§§3553, inter alia:

(a)(1) the nature and circumstances of the offense and the history and characteristics of
the defendant;

(a)(2) the need for the sentence imposed--

(A) to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense;

(B) to afford adequate deterrence to criminal conduct;

(C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with needed educational or vocational training, medical
care, or other correctional treatment in the most effective manner;

(a)(3) the kinds of sentences available;

Page 4 of 9
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 5 of 44 PagelD #: 3695

(a) (4) the kinds of sentences available and sentencing range established in for
movants with similar characteristics under the applicable Sentencing
Commission Guidelines and policy statements;

(a) (5) any pertinent policy statement of the sentencing commission in effect on
the date of sentencing; and

(a)(6) the need to avoid unwarranted disparities among defendants.

1. In interpreting the statute our circuit has written that “...determination of early release is
a discretionary decision made by the district court” and “Early termination is not
warranted as a matter of course; on the contrary it is ‘occasionally’ justified due to
‘changed circumstances’ of a defendant, such as ‘exceptionally good behavior.’” See

United States v. Sheckley, 129 F.3d 114, 1997 WL 701370, (2™ Cir.(N.Y.)) in an

unpublished decision citing United States v. Lussier, 104 F.3d 32, 35 (2d Cir. 1997).

a, Some cases in which the 2" Circuit’s standard has bee met include, for example, United
States v. Sam, 2018 WL 836055 (S.D.N.Y. 2018)(granting early termination where the
defendant complied with all terms of supervised release, there was no identifiable risk to
the public or any identified party, she showed extraordinary rehabilitation, and
terminating supervised release would allow her to work more closely with those still on
supervised release and fulfill her goals); U.S. v. Kapsis, 2013 WL 1632808 (S.D.N.Y.)
(granting early termination of supervised release where probation transferred defendant to
low intensity supervision, and defendant’s exemplary conduct on supervised release
showed that continued supervised release was unnecessary); U.S. v. Buckler, 2011 WL
3439526 (E.D.N.Y. 2011)(granting early termination where the defendant was compliant

with all conditions of supervised release, the supervised release conditions hindered his

Page 5 of 9
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 6 of 44 PagelD #: 3696

ability to support his family, and there was no reason to continue restrictions on him);
United States v. Cummings, 2017 WL 946349 (S.D.N.Y. 2017)(granting early
termination where defendant had been on low-intensity supervision for more than one
year, complied with all conditions of release, was employed, and termination was

warranted in the interests of justice).

By In this case, the factors rally in favor of Early Termination.
Application
L Mr. Padula has not had any violations while on supervised release and paid his $300

assessment from his sentencing.

Da On June 29, 2022, Dr. Richard B. Krueger (“Kreuger”) wrote to provide results of a
psychiatric evaluation he conducted on the Releasee (See Exhibit C, [June 29, 2022
Psychiatric Evaluation of the Releasee])'. On May 1, 2021, the Releasee was diagnosed
with Major Depressive Disorder, Single Episode, Severe; Generalized Anxiety Disorder,
Severe; and Panic Disorder, Severe (/d.). On both occasions, he was in prison (/d.).

3. Krueger reported that, on June 13, 2022, those three (3) disorders had resolved, which he
attributed to his release from prison to the community and to living with his parents (/d.).
He is not in need of any mental health services now (id.).

4. Mr. Padula has been employed at Genco Management Co Inc. since March 13, 2023
working as a part time employee (See Exhibit D, [Employment Verification]).

DE Since September 13, 2022, Mr. Padula has been enrolled at University of Phoenix where

he has maintained a GPA of 3.96 out of 4.0. For his academic achievements, Mr. Padula

' Dr. Krueger’s resume is available upon request.

Page 6 of 9
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 7 of 44 PagelD #: 3697

Dated:

was placed on the Dean’s List for the spring semester of 2023 (See Exhibit E, [University
of Phoenix Transcript and Dean’s List Letter]).
On August 23, 2023, Mr. Padula was nominated for membership to the National Society
of Collegiate Scholars (See Exhibit F, [University of Phoenix Nomination to the National
Society of Leadership and Success}).
Similarly to the aforementioned cases, Padula’s circumstances have “changed” as he is
now mentally and emotionally well, working, is a Dean’s List student, and, according to
the University, is deserving a nomination for membership to a national leadership
program. From conviction to the Dean’s List and Leadership, Mr. Padula’s circumstances
are “exceptional.” Indeed, he is a model supervisee.

Conclusion
For the foregoing reasons, the Releasee moves this Court to terminate his supervised
release pursuant to 18 U.S.C. §3583 (e)(1) and §3583(a), Federal Criminal Procedure
Rule 32.1 (c), Local Criminal Rule 34.1, and such other relief as is just forthwith.
September 20, 2023
New York, NY

Yours, etc.

) oR

Paul D. Petrus Jr. & Associates, P.C.
Law Firm for George Padula IT

The Graybar Building

420 Lexington Avenue, Suite 2450
New York, NY 10170

212.564.2440 (Office)

Paul@petruslaw.com

Page 7 of 9
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 8 of 44 PagelD #: 3698

TO: United States Probation Office, Eastern District
27 Johnson Street
Brooklyn, NY 11201
Attn: PO Perez

United States Attorney’s Office, Eastern District
271 Cadman Plaza East

Brooklyn, NY 11201

Attn: AUSA James McDonald

Page 8 of 9
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 9 of 44 PagelD #: 3699

AFFIDAVIT OF SERVICE BY MAIL

L, John Hrbac, being sworn, say I am not a party to this action, am over 18 years of age
and reside in Brooklyn, New York. On September 20, 2023, I served the Notice of Motion to
Terminate Supervised Release and Supporting Declaration for Case # 1:17-cr-00664-RJD-RER-
2 by depositing a true copy thereof enclosed in a post-paid wrapped, in an official depository
under the exclusive care and custody of the United States Postal Service within New York State,

addressed to each of the following person(s) at the last known address set forth after each name:

United States Probation Office, Eastern District
27 Johnson Street

Brooklyn, NY 11201

Attn: PO Perez

United States Attorney’s Office, Eastern District
271 Cadman Plaza East

Brooklyn, NY 11201

Attn: AUSA James McDonald

A ZL
John Hrbac

Sworn to before me this
20" day of September, 2023

(__¢_-

Notary Public StateoP NOY Yor

PAUL D. PETRUS JR.
NOTARY PUBLIC, STATE OF NEW YO
Registration No. 02PE6121166
Qualified in New York County
Commission Expires January 24, 2025

Page 9 of 9
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 10 of 44 PagelD #: 3700

A
(NOT INCLUDED)
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 11 of 44 PagelID #: 3701
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 12 of 44 QEIDFits%b,MAG

US. District Court
Eastern District of New York (Brooklyn)
CRIMINAL DOCKET FOR CASE #: 1:17-cr-00664-RJD-RER-2

Case title: USA v. Luthmann et al Date Filed: 11/30/2017

Date Terminated: 07/09/2021

Assigned to: Judge Raymond J. Dearie
Referred to: Magistrate Judge Ramon E.

Reyes, Jr
Defendant (2)
George Padula, ITI represented by Chad D. Seigel
TERMINATED: 07/09/2021 Tacopina Seigel & Deoreo
275 Madison Ave
Ste Fl 35

New York, NY 10016
212-227-8877

Fax: 212-619-1028

Email: cseigel@tacopinalaw.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Gerald J. McMahon

Gerald J. McMahon, Esq.

375 Greenwich Street

New York, NY 10013
212-965-4259

Email: gm@ geraldjmcmahon.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Gerard M. Marrone

The Law Office of Gerard Marrone P.C
66-85 73rd Place

Second Floor

Middle Village, NY 11379
718-261-1711

Email: gmarronelaw @ gmail.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 13 of 44 PagelD #: 3703

James R. Froccaro

20 Vanderventer Avenue

Suite 103W

Port Washington, NY 11050
(516) 944-5062

Fax: 516-944-5066

Email: jrfesq61 @aol.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Retained

Michael H. Gold

Michael H. Gold

33 Hunting Ridge Road
Chappaqua, NY 10514
914-238-9219

Email: michaelhgold@aol.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: CJA Appointment

Matthew J. Santamauro
Matthew J. Santamauro, P.C.
2550 Victory Blvd,

Suite 306

Staten Island, NY 10314
718-273-2092

Fax: 718-816-0718

Email: msantamauro@ aol.com
TERMINATED: 01/29/2018
ATTORNEY TO BE NOTICED
Designation: Retained

Pending Counts Disposition

Imprisonment: Count 1: 42 months; Count
7: 42 months to run concurrently to the
term imposed in Count 1; Count 2: 24
months, to run consecutively to the terms
imposed in Counts | and 7; Supervised
Release with Special Conditions: 2 years;
Special Assessment: $300; Restitution:
$559,911.26; Forfeiture Order

Imprisonment: Count 1: 42 months; Count
7: 42 months to run concurrently to the

18: 1028A(a)(1), 1028A(b), 1028A(c)(5), 2 term imposed in Count L; Count 2: 24
and 3551 et seq. - Aggravated Identity months, to run consecutively to the terms
Theft imposed in Counts | and 7; Supervised

(2s) Release with Special Conditions: 2 years;

18:1349 and 3551 et seq. - Wire Fraud
Conspiracy

(Is)
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/0 Spe ciAlWSsdssitient: $306! Restitution:

18:1951(a), 2 and 3551 et seq. -
Threatening Physical Violence in
Furtherance of a Plan to Extort Co-
Conspirator |

(7s)

Highest Offense Level (Opening)

Felony

Terminated Counts

18:1349 and 3551 et seq. WIRE FRAUD
(1)

18:1028A(a)(1), 1028A(b), 1028A(c)(5), 2
and 355 et seq. - FRAUD WITH
IDENTIFICATION DOCUMENTS

(2)

18:1956(h),1957(b),1957(d)(1) and 3551 et
seq. - MONEY LAUNDERING -
INTERSTATE COMMERCE

(3)

18:1956(h), 1957(b), 1957(d){I) and 3551

et seq. - Money Laundering Conspiracy
(3s)

18:1957(a),1957(b),1957(d)(1) and 3551 et
seq. - RACKETEERING - EXTORTION,
CREDIT TRANSACTIONS

(4)
18:1201(c) and 3551 et seq. - Kidnaping

Conspiracy

(4s)

18:1201(a)(1), 2 and 3551 et seq. -
Kidnaping

(3s)

18:894(a) and 3551 et seq. - Extortionate

Collection of Credit Conspiracy
(6s)

18:1201(c) and 3551 et seq. -
KIDNAPPING

(7)

18:1201(a)(1), 2 and 3551 et seq. -

$559,911.26; Forfeiture Order

Imprisonment: Count |: 42 months; Count
7: 42 months to run concurrently to the
term imposed in Count 1; Count 2: 24
months, to run consecutively to the terms
imposed in Counts | and 7; Supervised
Release with Special Conditions: 2 years;
Special Assessment: $300; Restitution:
$559,911.26; Forfeiture Order

Disposition

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Dismissed on Motion of the United States
KIDNASBPING’-cr-00664-PKC-RER Document 331 Filed 10/0 DismissedhonMotiénefahOUniteMS tates

(8)

18:924(c)(1)(A)(i), 924(c)(1)(A) (ii), 2 and
3551 et seq. - Using, Carrying and
Possessing a Firearm

(8s)

18:894(a) and 3551 et seq. -
COLLECTION OF CREDIT BY
EXTORTION

(9)

18:894(a), 2 and 3551 et seq. -
COLLECTION OF CREDIT BY
EXTORTION

(10)

18:924(c)(1)(A)G),924(c)(1)(A) Gi), 2 and
3551 et seq. - VIOLENT
CRIME/DRUGS/MACHINE GUN

(11)

Highest Offense Level (Terminated)
Felony

Complaints

None

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Dismissed on Motion of the United States

Disposition

Plaintiff
USA

represented by

Moira Kim Penza

U.S. Attorneys Office, E.D.N.Y.
271 Cadman Plaza East

BrookylIn, NY 11201

LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Government Attorney

Claire S. Kedeshian

United States Attorneys Office
Eastern District of New York

271 Cadman Plaza East

Brooklyn, NY 11201-1820

(718) 254-7000

Fax: (718) 254-6081

Email: claire.kedeshian @ usdoj.gov
ATTORNEY TO BE NOTICED

Genny Ngai
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/$%@6j_Bagqpl6 of 44 PagelD #: 3706

271 Cadman Plaza East
Brooklyn, NY 11201
718-254-6393

Email: genny.ngai@usdoj.gov
ATTORNEY TO BE NOTICED

James P. McDonald

US. Attorney's Office/EDNY
Eastern District Of New York

271 Cadman Plaza East

Brooklyn, NY 11201
718-254-6376

Fax: 718-254-6481

Email: mcdonaldja@sec.gov
ATTORNEY TO BE NOTICED
Designation: Government Attorney

Date Filed

Docket Text

11/30/2017

SEALED INDICTMENT as to Richard Luthmann (1) count(s) 1, 2,3, 4,5, 6,7, 8,9,
10, 11, George Padula, III (2) count(s) 1,2,3,4,7,8,9, 10, 11, Michael Beck (3)
count(s) 7, 8,9, 10, 11. (Attachments: # 1 Sealing Cover Sheet) (Piper, Francine)
(Additional attachment(s) added on 12/1/2017: # 2 Criminal Information Sheet)
(Piper, Francine). (Entered: 12/01/2017)

12/08/2017

ORDER REASSIGNING CASE as to Richard Luthmann, George Padula, III, Michael
Beck. Assigned to Judge Jack B. Weinstein. Judge Roslynn R. Mauskopf no longer
assigned to the case. Please download and review the Individual Practices of the
assigned Judges, located on our website. Attorneys are responsible for providing
courtesy copies to judges where their Individual Practices require such.. Ordered by
Chief Judge Dora Lizette Irizarry on 12/8/2017. (Davis, Kimberly) (Entered:
12/08/2017)

12/15/2017

In

Order to Unseal the Above Captioned Matter as to Richard Luthmann, George Padula,
III, Michael Beck. So Ordered by Magistrate Judge Robert M. Levy on 12/15/2017.
(Lee, Tiffeny) (Entered: 12/19/2017)

12/15/2017

ION

Letter dated 12/15/2017 from AUSA Moira Kim Penza to the Hon. Robert M. Levy,
USMS, in support of the government's request for a permanent order of detention as to
Richard Luthmann, George Padula, HII, Michael Beck. (Barrett, C) (Entered:
12/19/2017)

12/15/2017

NOTICE OF ATTORNEY APPEARANCE: Matthew J. Santamauro appearing for
George Padula, III. (Barrett, C) (Entered: 12/19/2017)

12/15/2017

Minute Entry for proceedings held before Magistrate Judge Robert M. Levy:
Arraignment as to George Padula III (2) Counts 1,2,3,4,7,8,9,10,11 held on
12/15/2017. George Padula III (2) pleads NOT GUILTY to ALL counts. Temporary
Order of Detention Issued. Bail Hearing set for 12/19/2017 at 2 PM. Order of
Excludable Delay/Speedy Trial entered from 12/15 to 1/8/2018. (FTR Log #2:33-
2:38.) (Barrett, C) (Entered: 12/19/2017)

12/1$/20¢7::17;cruGObORBDER- OEATEMPORARY DETENTION PENDING HEARING RUURS UANT/TO
BAIL REFORM ACT as to George Padula, III. Detention Hearing set for 12/19/2017
at 02:00 PM before Magistrate Judge Steven M. Gold. Ordered by Magistrate Judge
Robert M. Levy on 12/15/2017. (Barrett, C) (Entered: 12/19/2017)

12/15/2017 14 | ORDER TO CONTINUE - Ends of Justice as to George Padula, III. Time excluded
from 12/15/2017 until 1/8/2018. Ordered by Magistrate Judge Robert M. Levy on
12/15/2017. (Barrett, C) (Entered: 12/19/2017)

12/19/2017 19 | Minute Entry for proceedings held before Magistrate Judge Steven M. Gold:
Detention Hearing as to George Padula, III held on 12/19/2017. Dfse counsel
presented a bail application with 4 sureties; govt opposed; dfse counsel withdraws bail
| application to try to put together a stronger application. Temporary Order of Detention
Issued. Bail Hearing set for 12/20/2017 at 2:00 PM. (FTR Log # 3:21-3:24, 3:29-3:47, |
4:09-4:11.) (Barrett, C) (Entered: 12/20/2017)

12/19/2017 20 | ORDER OF TEMPORARY DETENTION PENDING HEARING PURSUANT TO
BAIL REFORM ACT as to George Padula, III. Detention Hearing set for 12/20/2017
at 2:00 PM before Magistrate Judge Steven M. Gold. Ordered by Magistrate Judge
Steven M. Gold on 12/19/2017. (Barrett, C) (Entered: 12/20/2017)

12/20/2017 25 | Minute Entry for proceedings held before Magistrate Judge Steven M. Gold: Criminal
Proceeding as to George Padula, III held on 12/20/2017. Order of detention entered
w/leave to reapply. Bail Hearing set for 12/28/2017 at 11:00 AM. (FTR Log #3:28-
3:32.) (Barrett, C) (Entered: 12/29/2017)

12/20/2017 26 | ORDER OF DETENTION as to George Padula, III. Ordered by Magistrate Judge
Steven M. Gold on 12/20/2017. (Barrett, C) (Entered: 12/29/2017)

12/22/2017 23 | TRANSCRIPT of Proceedings as to George Padula, III held on December 19, 2017,
before Judge Gold. Court Transcriber: Type Write Word Processing Service, Telephone
number 518-581-8973. Transcript may be viewed at the court public terminal or
purchased through the Court Transcriber before the deadline for Release of Transcript
Restriction. After that date it may be obtained through PACER.File redaction request
using event "Redaction Request - Transcript" located under "Other Filings - Other
Documents". Redaction Request due 1/12/2018. Redacted Transcript Deadline set for
1/22/2018. Release of Transcript Restriction set for 3/22/2018. (Rocco, Christine)
(Entered: 12/22/2017)

01/01/2018 29 | NOTICE OF ATTORNEY APPEARANCE: James M. Branden appearing for Richard
Luthmann, George Padula, III, Michael Beck Notice of Appearance for Michael Beck
Only (Branden, James) (Entered: 01/01/2018)

01/05/2018 44 | Minute Entry for proceedings held before Judge Jack B. Weinstein: Pretrial/Motion
Conference as to Richard Luthmann, George Padula, III, Michael Beck held on
1/5/2018. AUSA M. Penza. A. Aidala for Luthmann, M. Santamauro/J. Froccaro for
Padula, III; and J. Branden for Beck. Jury selection before Mag. Judge on 5/14/18. In
Limine motions will be heard on 5/7/2017 at 11:00 a.m. Motion to sever will be heard
on 2/28/18 at 10:30 a.am. (Jury Trial set for 5/14/2018 at 2:00 PM in Courtroom 10B
South before Judge Jack B. Weinstein). (Court Reporter L. Mancino). (Layne,
Monique) (Entered: 01/25/2018)

01/09/2018 32 | SCHEDULING AND TRIAL MANAGEMENT ORDER as to Richard Luthmann,
George Padula, III, Michael Beck, setting deadlines and hearings, terminating attorney

Case 1:17

+Ccr-O0

PPSseph ov Sorrenkthto Hh Case ag to RiChatd Vithimannand Sxeiddihe gine From Speedy
trial calculations. Ordered by Judge Jack B. Weinstein on 1/5/2018. (Barrett, C)

(Entered: 01/09/2018)

01/10/2018

MOTION for Protective Order As to Discovery Materials by USA as to Richard
Luthmann, George Padula, III, Michael Beck. (Attachments: # | Proposed Order)
(Penza, Moira) (Entered: 01/10/2018)

01/13/2018

Letter Providing Rule 16 Discovery on January 9, 2018 as to Richard Luthmann,
George Padula, III, Michael Beck (Penza, Moira) (Entered: 01/13/2018)

01/13/2018

Letter Providing Rule 16 Discovery on January 12, 2018 as to Richard Luthmann,
George Padula, II], Michael Beck (Penza, Moira) (Entered: 01/13/2018)

01/17/2018

NOTICE OF ATTORNEY APPEARANCE: James R. Froccaro appearing for George
Padula, III (Froccaro, James) (Entered: 01/17/2018)

01/23/2018

ORDER as to Richard Luthmann, George Padula, III, Michael Beck re: Discovery
Materials. (Ordered by Judge Jack B. Weinstein on 1/11/2018) (Galeano, Sonia)
(Entered: 01/23/2018)

01/25/2018

Letter In Further Support of Detention as to George Padula, II] (Penza, Moira)
(Entered: 01/25/2018)

01/26/2018

MOTION for Bond by George Padula, III. (Froccaro, James) (Entered: 01/26/2018)

01/26/2018

Minute Entry for proceedings held before Magistrate Judge Viktor V. Pohorelsky:
Detention Hearing as to George Padula, III held on 1/26/2018. Defense counsel
presented a bail package. Gov't opposed based on danger to the community. Court
finds deft a danger to the community. Order of detention w/prejudice entered. (FTR
Log #11:48-12:28, 2nd call 2:32-2:35.) (Barrett, C) (Entered: 02/05/2018)

01/26/2018

ORDER OF DETENTION PENDING TRIAL as to George Padula, III. Ordered by
Magistrate Judge Viktor V. Pohorelsky on 1/26/2018. (Barrett, C) (Entered:
02/05/2018)

01/29/2018

TRANSCRIPT of Proceedings as to George Padula, III held on January 26, 2018,
before Judge POHORELSKY. Court Reporter/Transcriber TypeWrite Word Processing
Service, Telephone number 518-581-8973. Email address: transcripts@typewp.com.
Transcript may be viewed at the court public terminal or purchased through the Court
Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
that date it may be obtained through PACER.File redaction request using event
"Redaction Request - Transcript" located under "Other Filings - Other Documents”.
Redaction Request due 2/19/2018. Redacted Transcript Deadline set for 3/1/2018.
Release of Transcript Restriction set for 4/30/2018. (Hong, Loan) (Entered:
01/29/2018)

01/29/2018

CJA 20 Appointment: Attorney Michael Gold appointed for George Padula, III.
Ordered by Magistrate Judge James Orenstein on 1/29/2018. (Barrett, C) (Entered:
02/05/2018)

01/29/2018

Minute Entry for proceedings held before Judge Jack B. Weinstein: Motion conference
as to George Padula, III held on 1/29/2018 re Government's motion for curcio hearing.
Evidentiary hearing ordered and begun. The Mag judge on duty is requested to appoint
counsel to advise the deft. Hearing continued to 1/30/2018 at 02:00 PM in Courtroom

+Cr-O0

SPOR SUuth before IOUS MACK. WEST A ttore§ Barkanatifo ereVeds (Court

Reporter D. Parisi.) (Attachments: # 1 Sealing Cover Sheet) (Fernandez, Erica)
Modified on 2/7/2018. Entry was sealed in error. Entry unsealed as per Judge
Weinstein's chambers. (Piper, Francine). (Entered: 02/05/2018)

01/30/2018

Case 1:17
|

Letter Jn Further Support of Pretrial Detention as to George Padula, III (Penza,
Moira) (Entered: 01/30/2018)

01/30/2018

MOTION for Bond to Judge Weinstein by George Padula, III. (Froccaro, James)
(Entered: 01/30/2018)

| 01/30/2018

Minute Entry for proceedings held before Judge Jack B. Weinstein: Motion Hearing as
to George Padula, III held on 1/30/2018 re Government's Motion for Curcio Hearing.
The defendant informs the court that he wishes to be represented by Mr. Froccaro.
Defendant's oral appeal of the Mag. Judge's bail decision will be heard on 2/15/2018 at
11:15 am. (Court Reporter D. Parisi.) (Barrett, C) (Entered: 02/06/2018)

02/12/2018

MOTION to Quash by George Padula, III. (Froccaro, James) (Entered: 02/12/2018)

02/12/2018

RESPONSE in Opposition re 66 MOTION to Quash GJ Subpoena (Penza, Moira)
(Entered: 02/12/2018)

02/12/2018

ORDER denying 66 Motion to Quash as to George Padula III (2). So Ordered by
Judge Jack B. Weinstein on 2/12/2018. (Lee, Tiffeny) (Entered: 02/12/2018)

02/15/2018

MOTION to Withdraw as Attorney for George Padula III by James R. Froccaro, Jr..
by George Padula, III. (Froccaro, James) (Entered: 02/15/2018)

02/19/2018

Letter Moving to Disregard Pro Se Filing of Defendant Luthmann and Update to
Court Re: Discovery as to Richard Luthmann, George Padula, III, Michael Beck
(Penza, Moira) (Entered: 02/19/2018)

02/19/2018

Letter Providing Rule 16 Discovery on Januar 19, 2018 as to Richard Luthmann,
George Padula, III, Michael Beck (Penza, Moira) (Entered: 02/19/2018)

02/19/2018

Letter Providing Rule 16 Discovery on February 2, 2018 as to Richard Luthmann,
George Padula, III, Michael Beck (Penza, Moira) (Entered: 02/19/2018)

02/19/2018

Letter Providing Rule 16 Discovery on February 16, 2018 as to Richard Luthmann,
George Padula, If1, Michael Beck (Penza, Moira) (Entered: 02/19/2018)

02/26/2018

Letter Requesting Adjournment of Oral Arugment re: Severance as to Richard
Luthmann, George Padula, III, Michael Beck (Penza, Moira) (Entered: 02/26/2018)

02/27/2018

MEMO ENDORSED ORDER as to Richard Luthmann, George Padula, III, Michael
Beck re 70 Letter. So Ordered by Magistrate Judge Ramon E. Reyes, Jr on 2/27/2018.
(Vertus, Miriam) (Main Document 76 replaced on 2/27/2018) (Vertus, Miriam).
(Entered: 02/27/2018)

02/27/2018

NOTICE OF ATTORNEY APPEARANCE: Gerald J. McMahon appearing for
Richard Luthmann, George Padula, III, Michael Beck Substituting for James R.
Froccaro (McMahon, Gerald) (Entered: 02/27/2018)

02/28/2018

Letter Jn Further Support of a Permanent Order of Detention for Richard Luthmann as
to Richard Luthmann, George Padula, III, Michael Beck (Attachments: # 1 Exhibit 1,
#2 Exhibit 2, # 3 Exhibit 3) (Penza, Moira) (Entered: 02/28/2018)

03/06/S0F3": +7

-CRAOCROTICE OFATFORNEY APPEARANCE James BMicionalt appearing for USA.

| (McDonald, James) (Entered: 03/06/2018)

| 03/07/2018

MEMORANDUM in Opposition re 45 MOTION to Sever Defendant Beck (Penza,
Moira) (Entered: 03/07/2018)

| 03/09/2018

MOTION for Extension of Time to File satisfaction of bail conditions by Richard
Luthmann as to Richard Luthmann, George Padula, III, Michael Beck. (Romano,
Mario) (Entered: 03/09/2018)

03/13/2018

ENDORSED ORDER as to Richard Luthmann, George Padula, III, Michael Beck
granting 75 Letter Requesting Adjournment of Oral Argument re: Severance. (Oral
argument reset for 3/14/2018 at 02:00 PM in Courtroom 10B South before Judge Jack |
B. Weinstein.) Ordered by Judge Jack B. Weinstein on 2/28/2018. (Barrett, C)
(Entered: 03/13/2018)

03/13/2018

Joint MOTION for Separate Trial on Counts George Padula III (2) Count 7,8,9,10,11
by George Padula, II]. (McMahon, Gerald) (Entered: 03/13/2018)

03/14/2018

Minute Entry for proceedings held before Judge Jack B. Weinstein: Motion Hearing as
to Richard Luthmann, George Padula, HI, Michael Beck held on 3/14/2018 re
MOTION for Separate Trials. Decision reserved. Further Motion Hearing set for
4/18/2018 at 10:30 AM (in Courtroom 10B South). (Court Reporter R. Teich.)
(Barrett, C) (Entered: 04/02/2018)

03/16/2018

ORDER as to Richard Luthmann, George Padula, III, Michael Beck: Pretrial motions,
in limine motions, and motions for severance shall be made returnable on 4/18/2018 at
10:30 AM in Courtroom 10B South. Ordered by Judge Jack B. Weinstein on
3/14/2018. (Barrett, C) (Entered: 03/16/2018)

04/12/2018

ORDER as to Richard Luthmann, George Padula, III, Michael Beck: The issue of
adjournment raised in Michael Beck's 99 Letter will be heard at the 4/18/2018
conference. Submission of briefs respecting pretrial motions, in imine motions, and
severance will be rescheduled at the 4/18/2018 hearing. Ordered by Judge Jack B.
Weinstein on 4/11/2018. (Barrett, C) (Entered: 04/12/2018)

04/18/2018

Minute Entry for proceedings held before Judge Jack B. Weinstein: Pretrial
Conference as to Richard Luthmann, George Padula, III, Michael Beck held on
4/18/2018. Jury selection before Mag. Judge 7/9/2018. Trial is adjourned to 7/9/2018
at 2:00 PM. In limine motions will be heard 7/2/2018 at 10:30 AM. Speedy Trial Info
for defts.: start date 4/18/2018, stop date 7/9/2018. (Court Reporter S. Mace.) (Barrett,
C) (Entered: 04/19/2018)

04/19/2018

No

ORDER rescheduling trial and related dates as to Richard Luthmann, George Padula,
III, Michael Beck. Trial reset for 7/9/2018. Hearing on in limine motions reset for
7/2/2018; submission in advance of that hearing shall be filed by 6/25/2018. Ordered
by Judge Jack B. Weinstein on 4/18/2018. (Barrett, C) (Entered: 04/19/2018)

04/24/2018

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Richard
Luthmann, George Padula, III, Michael Beck held on 03/14/2018, before Judge
WEINSTEIN. Court Reporter/Transcriber RIVKA TEICH, Telephone number 718
613 2268. Email address: rivkateich@ gmail.com. Transcript may be viewed at the
court public terminal or purchased through the Court Reporter/Transcriber before the
deadline for Release of Transcript Restriction. After that date it may be obtained

Case 1:17

-Cr-O0

bfitoukh- PACER Tule redaétion refilest USiA evenP*Redaction RdqagstD Fraaséript"

located under "Other Filings - Other Documents". Redaction Request due 5/15/2018.
Redacted Transcript Deadline set for 5/25/2018. Release of Transcript Restriction set
for 7/23/2018. (Teich, Rivka) (Entered: 04/24/2018)

04/25/2018

ORDER rescheduling trial and related dates as to Richard Luthmann, George Padula,
III, Michael Beck. Trial reset for 6/25/2018. Hearing on in limine motions reset for
6/18/2018 at 10:30 AM; submission in advance of that hearing shall be filed by
6/11/2018. Ordered by Judge Jack B. Weinstein on 4/24/2018. (Barrett, C) (Entered:
04/25/2018)

05/22/2018

MOTION for Hearing adjournment by Richard Luthmann as to Richard Luthmann,
George Padula, III, Michael Beck. (Romano, Mario) (Entered: 05/22/2018)

05/22/2018

ORDER terminating 111 Motion for Hearing as to George Padula III (2), Michael
Beck (3).Ordered by Magistrate Judge Ramon E. Reyes, Jr on 5/22/2018. (Vertus,
Miriam) (Entered: 05/22/2018)

05/22/2018

Letter Requesting Extension of Time to File Superseding Indictment with Consent of
Defendants as to Richard Luthmann, George Padula, III (Penza, Moira) (Entered:
05/22/2018)

05/24/2018

ENDORSED ORDER as to Richard Luthmann, George Padula, HI re 114 Letter
Requesting Extension of Time to File Superseding Indictment with Consent of
Defendants. Extension granted. Speedy trial rules waived during extension. Ordered
by Judge Jack B. Weinstein on 5/23/2018. (Barrett, C) (Entered: 05/24/2018)

05/29/2018

Scheduling Order as to (2) George Padula, III: Change of Plea Hearing set for
5/31/2018 at 5:30 PM in Courtroom 2E North before Magistrate Judge Ramon E.
Reyes Jr. The Government is directed to fax all required paperwork to Judge Reyes no
later than 5/30/2018. Ordered by Magistrate Judge Ramon E. Reyes, Jr on 5/29/2018.
(Vertus, Miriam) (Entered: 05/29/2018)

05/3 1/2018

INO

ORDER REFERRING CASE to Magistrate Judge Ramon E. Reyes, Jr. as to George
Padula, III for Pleading. Ordered by Judge Jack B. Weinstein on 5/30/2018. (Barrett,
C) (Entered: 06/04/2018)

05/31/2018

—_
ho

Minute Entry for proceedings held before Magistrate Judge Ramon E. Reyes, Jr:
Pleading as to George Padula, III held on 5/31/2018. George Padula III (2) withdraws
not guilty plea and enters a GUILTY PLEA to Counts 9, 11. Defendant remains in
custody. (Sentencing set for 9/17/2018 at 10:30 AM in Courtroom 10B South before
Judge Jack B. Weinstein.) (FTR Log # 5:36:38 - 6:06:58.) (Barrett, C) (Entered:
06/04/2018)

05/31/2018

Case as to George Padula, III no longer referred to Magistrate Judge Ramon E. Reyes,
Jr. (Barrett, C) (Entered: 06/04/2018)

06/04/2018

IS
io

TRANSCRIPT of Proceedings as to George Padula, III held on May 31, 2018, before
Judge Reyes. Court Transcriber: TypeWrite Word Processing Service, Telephone
number 518-581-8973. Email address: transcripts@typewp.com. Transcript may be
viewed at the court public terminal or purchased through the Court Transcriber before
the deadline for Release of Transcript Restriction. After that date it may be obtained
through PACER File redaction request using event "Redaction Request - Transcript"
located under "Other Filings - Other Documents". Redaction Request due 6/25/2018.

Case 1:17

tcr-O0

oRédaktedransdript Deadline bet Foe 7/5/2018 Release 6 HahschipoRestrictibh-set
for 9/3/2018. (Rocco, Christine) (Entered: 06/04/2018)

06/08/2018

EB
is

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to George
Padula, III held on January 30, 2018, before Judge Weinstein. Court
Reporter/Transcriber Denise Parisi, Telephone number 718-613-2605. Email address:
deniseparisi72 @ gmail.com. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for Release of
Transcript Restriction. After that date it may be obtained through PACER .File
redaction request using event "Redaction Request - Transcript” located under "Other
Filings - Other Documents". Redaction Request due 6/29/2018. Redacted Transcript
Deadline set for 7/9/2018. Release of Transcript Restriction set for 9/6/2018. (Parisi,
Denise) (Entered: 06/08/2018)

08/10/2018

ENDORSED ORDER granting Request for Adjournment as to George Padula, III.
Sentencing reset for 11/28/2018 at 10:30 AM (in Courtroom 10B South). Ordered by
Judge Jack B. Weinstein on 8/2/2018. (Barrett, C) (Entered: 08/10/2018)

10/04/2018

NOTICE OF ATTORNEY APPEARANCE: Chad D. Seigel appearing for George
Padula, III (Seigel, Chad) (Entered: 10/04/2018)

10/04/2018

STIPULATION by George Padula, III (Seigel, Chad) (Entered: 10/04/2018)

10/23/2018

MOTION to Continue Sentencing by George Padula, III. (Seigel, Chad) (Entered:
10/23/2018)

11/06/2018

ENDORSED ORDER granting 153 Motion to Continue Sentencing as to George
Padula III (2). Sentencing is adjourned to 2/27/2019 at 10:30 AM (in Courtroom 10B
South). Ordered by Judge Jack B. Weinstein on 10/31/2018. (Barrett, C) (Entered:
11/06/2018)

11/15/2018

Email Notification Test - DO NOT REPLY. (Barrett, C) (Entered: 11/15/2018)

02/11/2019

Letter requesting, with the Government's consent, an adjournment of sentencing until
late May, 2019, as to George Padula, III (Seigel, Chad) (Entered: 02/11/2019)

02/12/2019

Letter Request Adjournment and Exclude Timer as to Richard Luthmann, George
Padula, III, Michael Beck (Aidala, Arthur) (Entered: 02/12/2019)

02/27/2019

ORDER as to George Padula, II: Claims of poor medical treatment of a prisoner will
be heard on 3/11/2019 at 10:45 a.m. Ordered by Judge Jack B. Weinstein on
2/26/2019. (Barrett, C) (Entered: 02/27/2019)

03/11/2019

Minute Entry for proceedings held before Judge Jack B. Weinstein: Case called for
Pretrial/Motion Conference as to George Padula, II on 3/11/2019. Discovery motions
respectfully referred to the magistrate judge. Medical records to be produced to the
AUSA. (Court Reporter L. Danelczyk.) (Barrett, C) (Entered: 04/08/2019)

03/11/2019

Case as to George Padula, III Referred to Magistrate Judge Ramon E. Reyes, Jr.
Discovery Motions referred to Ramon E. Reyes, Jr. See ECF No. 178 . (Barrett, C)
(Entered: 04/08/2019)

04/24/2019

ke
KO

Minute Entry for proceedings held before Judge Jack B. Weinstein: Motion Hearing as
to George Padula, III held on 4/24/2019 re Deft.'s MOTION to Address Medical
Issues/Treatment. Arguments heard. Decision entered on the record. The warden shall
be informed of Mr. Padula's claim of threats being made against him by prison staff.

Case 1:17

-Cr-OObPdrtner conference 4/20726 PO At FOS ANPWESurP Reporte?’ S4 HERALD (Barrett, C)

| (Entered: 05/09/2019)

04/26/2019

187 | Letter re: Medical Treatment and Adjournment of Conference as to George Padula, III
| (McDonald, James) (Entered: 04/26/2019)

04/29/2019

188 | Order as to George Padula, III re 187 Sealed Letter request to adjourn April 29, 2019
conference. Unseal this letter and transcript. Conference adjourned to May 1, 2019 at
| 10:30 a.m Speedy Trial Rules waived until that date. So Ordered by Judge Jack B.
Weinstein on 4/29/2019. (Document 187 unsealed) (Lee, Tiffeny) (Entered:
05/03/2019)

05/01/2019

193 | Minute Entry for proceedings held before Judge Jack B. Weinstein: Pretrial

| Conference as to George Padula, III held on 5/1/2019. PTC adjourned to 6/20/2019 at
10:30 am. 4/26/19 letter is unsealed. (Pretrial Conference adjourned to 6/20/2019 at
10:30 AM in Courtroom 10B South before Judge Jack B. Weinstein.) (Barrett, C)
(Entered: 06/05/2019)

05/28/2019

191 | ORDER as to George Padula, III: Sentencing is adjourned to 8/13/2019 at 10:30 AM
(in Courtroom 10B South). Ordered by Judge Jack B. Weinstein on 5/23/2019.
(Barrett, C) (Entered: 05/28/2019)

06/17/2019

194 | MOTION to Continue June 20, 2019 court appearance by George Padula, III. (Seigel,
Chad) (Entered: 06/17/2019)

06/19/2019

195 | ORDER re 194 Motion to Continue as to George Padula III (2). The motion for
defendant to adjourn the hearing scheduled for June 20, 2019 is granted. Defendant
shall promptly move for vacature of his plea. Parties shall arrange for hearing date
with case coordinator, June Lowe, 718-613-2525. So Ordered by Judge Jack B.
Weinstein on 6/18/2019. (Lee, Tiffeny) (Main Document 195 replaced on 6/19/2019)
(Lee, Tiffeny). (Entered: 06/19/2019)

07/24/2019

\—
oo

MOTION to Vacate Guilty Plea to Count Eleven, MOTION to Dismiss Count Eleven
by George Padula, II]. (Attachments: # 1 Memorandum in Support of Motion to
Vacate Guilty Plea to Count Eleven and Dismiss that Count, # 2 Declaration of
Attorney in Support of Motion, # 3 Exhibit A (Indictment), # 4 Exhibit B (Plea
Agreement), # 5 Exhibit C (Plea Transcript)) (Seigel, Chad) (Entered: 07/24/2019)

08/22/2019

RESPONSE to Motion re 198 MOTION to Vacate Guilty Plea to Count Eleven
MOTION to Dismiss Count Eleven (McDonald, James) (Entered: 08/22/2019)

ho
Oo

08/28/2019

204 | RESPONSE in Opposition re 198 MOTION to Vacate Guilty Plea to Count Eleven
MOTION to Dismiss Count Eleven (Seigel, Chad) (Entered: 08/28/2019)

08/28/2019

205 | ORDER granting 203 the government's request that this case be returned to its pretrial
posture as to George Padula, III. Ordered by Judge Jack B. Weinstein on 8/27/2019.
(Barrett, C) (Entered: 08/29/2019)

08/29/2019

206 | Letter MOTION for Reconsideration of the Court's Order, dated August 27, 2019,
granting the Govt's request that this case be returned to its pretrial posture, by George
Padula, ITI. (Seigel, Chad) (Entered: 08/29/2019)

09/09/2019

ho
CoO

ORDER as to George Padula, III re 206 Letter MOTION for Reconsideration of the
Court's Order, dated August 27, 2019, granting the Govt's request that this case be
returned to its pretrial posture, filed by George Padula, III. Status Conference set for

Case 1:17}cr-O066A 27701 Rath 0:30 AMantGeurtrbdnd MOBS Guth. Ordered by Jddgedatk B.aVérhstein
on 9/9/2019. (Barrett, C) (Entered: 09/09/2019)

09/10/2019 209 | Letter MOTION to Continue Status Conference presently scheduled for Sept. 12, 2019
until Sept. 19, 2019 at 11:15am by George Padula, III. (Seigel, Chad) (Entered:
| 09/10/2019)

09/18/2019 210 | Second MOTION for Reconsideration of the Court's Order, dated August 27, 2019,
granting the Govt's request that this case be returned to its pretrial posture, by George
| Padula, III. (Seigel, Chad) (Entered: 09/18/2019)

09/25/2019 | NOTICE OF HEARING as to George Padula, III- A Status Conference is set for
| 10/23/2019 at 11:15 AM in Courtroom 10B South before Judge Jack B. Weinstein.
(Lowe, June) (Entered: 09/25/2019)

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to George
Padula, III held on May 1, 2019, before Judge Jack B. Weinstein. Court
Reporter/Transcriber David R. Roy, Telephone number 7186132609. Email address:
drroyofcr@ gmail.com. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for Release of
Transcript Restriction. After that date it may be obtained through PACER File
redaction request using event "Redaction Request - Transcript" located under "Other
Filings - Other Documents". Redaction Request due 10/29/2019. Redacted Transcript
Deadline set for 11/8/2019. Release of Transcript Restriction set for 1/6/2020. (Roy,
David) (Entered: 10/08/2019)

10/08/2019 l

in

10/29/2019 221 | SUPERSEDING INDICTMENT (S-1) as to George Padula, III (2) counts Is, 2s, 3s,
4s, 5s, 6s, 7s, 8s. (Barrett, C) (Entered: 10/29/2019)

10/30/2019 222 | Minute Entry for proceedings held before Judge Jack B. Weinstein: Pretrial
Conference as to George Padula, III held on 10/30/2019. Speedy Trial Info for deft.:
start date 10/30/2019, stop date: 12/16/2019. Respectfully referred to the Magistrate
Judge for arraignment on the superseding indictment. Hearing 12/16/2019 at 10:30
am. (Court Reporter G. Bretts.) (Barrett, C) (Entered: 10/31/2019)

10/30/2019

ho
ho
nd

Minute Entry for proceedings held before Magistrate Judge Ramon E. Reyes, Jr:
Arraignment as to George Padula III (2) Counts Is, 2s, 3s, 4s, 5s, 6s, 7s, 8s held on
10/30/2019. George Padula III pleads NOT GUILTY to ALL counts. Order of
Excludable Delay/Speedy Trial entered. (Status Conference set for 12/16/2019 at
10:30 AM in Courtroom 10B South before Judge Jack B. Weinstein.) (FTR Log #
12:03-12:08.) (Barrett, C) (Entered: 10/31/2019)

10/30/2019 224 |ORDER TO CONTINUE - Ends of Justice as to George Padula, III. Time excluded
from 10/30/2019 until 12/16/2019. Ordered by Magistrate Judge Ramon E. Reyes, Jr
on 10/30/2019. (Barrett, C) (Entered: 10/31/2019)

12/10/2019 225 | MOTION to Withdraw Document 210 Second MOTION for Reconsideration of the
Court's Order, dated August 27, 2019, granting the Govt's request that this case be
returned to its pretrial posture, by George Padula, III. (Seigel, Chad) (Entered:
12/10/2019)

12/11/2019 226 | ENDORSED ORDER withdrawing 210 Motion for Reconsideration as to George
Padula III (2); granting 225 Motion to Withdraw Document as to George Padula III
(2); cancelling 12/16/2019 hearing. Ordered by Judge Jack B. Weinstein on

Case 1:17+cr-OOB fay WO TOEBahtenUMPEmered ley 901933 Page 25 of 44 PagelD #: 3715

12/16/2019 27 | MOTION to Continue status conference, presently scheduled for December 16, 2019,
until January 9, 2020 at 11:15am, with the Government's consent by George Padula,
III. (Seigel, Chad) (Entered: 12/16/2019)

12/18/2019 228 | ENDORSED ORDER on 227 Motion to Continue as to George Padula III (2).
Adjourned to 1/9/2020 at 11:15 AM (in Courtroom 10B South). Ordered by Judge
| Jack B. Weinstein on 12/17/2019. (Barrett, C) (Entered: 12/18/2019)

01/09/2020 236 | Minute Entry for proceedings held before Judge Jack B. Weinstein: Motion Hearing as
to George Padula, III held on 1/9/2020 re 230 Competency Evaluation of the deft.
AUSA J. McDonald. C. Siegel, Esq. ret. for deft. Hearing cont'd. to 1/21/2020. (Court
Reporter R. Teich) (Layne, Monique) (Entered: 01/30/2020)

MOTION for Psychiatric Exam /Competency Evaluation by USA as to George Padula,
III. (Attachments: # | Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10-17, # 11
Exhibit 10-T, # 12 Exhibit 11-T, # 13 Exhibit 12-T, # 14 Exhibit 13-T, # 15 Exhibit 14-
T, # 16 Exhibit 15-T, # 17 Exhibit 16-T, # 18 Exhibit 17-T) (McDonald, James)
(Entered: 01/16/2020)

ho
Go
io

01/16/2020

bo
we

01/19/2020

RESPONSE in Opposition re 230 Motion for Psychiatric Exam,, | - Sealed Document
CR, (Attachments: # | Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, #5
Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I) (GSeigel, Chad)
(Entered: 01/19/2020)

No
No

ORDER OF RECUSAL -- For the reasons stated orally on the record, the court
recuses itself. The case shall be reassigned to another Judge for all purposes including
trial, jury selection, and sentencing. The parties have agreed to waive speedy trial time
from today to the selection of the new Judge. So Ordered by Judge Jack B. Weinstein
on 1/21/2020. (Carosella, Christy) (Entered: 01/21/2020)

01/21/2020

01/21/2020 ORDER REASSIGNING CASE as to George Padula, III. Reassigned to Judge
Raymond J. Dearie. Judge Jack B. Weinstein no longer assigned to the case. Please
download and review the Individual Practices of the assigned Judges, located on our
website. Attorneys are responsible for providing courtesy copies to judges where their
Individual Practices require such. Signed by Chief Judge Dora Lizette Irizarry on
1/21/2020. (Brown, Marc) (Entered: 01/21/2020)

No
Oo
Od

01/21/2020

|

Minute Entry for proceedings held before Judge Jack B. Weinstein: Motion Hearing as
to George Padula, III held on 1/21/2020 re 230 Motion for Psychiatric Exam. Decision
entered on the record. This court recuses itself. The Clerk of Court shall reassign the
case by random selection. Time excluded: Start Date: 1/21/2020; Stop Date: Until
Appointment of New Judge.(Court Reporter David Roy) (Lee, Tiffeny) (Entered:
01/22/2020)

Nw
Uo
B

Medical Evaluation Order as to George Padula, III. Having examined the defendant, a
distinguished expert in forensic psychiatry testified that Padula is competent. The
AUSA and Padula's attorney concurred. The court observed the defendant writing out
questions and assisting his attorney. Based on his actions and the record, the court
finds that Padula is presently competent to assist in his defense and proceed to trial.
Ordered by Judge Jack B. Weinstein on 1/23/2020. (Layne, Monique) (Entered:
01/23/2020)

01/23/2020

|

Case 1:17

-cr-O0

664-PKC-RER_ Document 331 Filed 10/01/23 Page 26 of 44 PagelD #: 3716

01/24/2020

235

Minute Entry: for proceedings held before Judge Raymond J. Dearie: AUSA James
McDonald. Defense Counsel: Chad Seigel. Status Conference as to George Padula, III
held on 1/24/2020, ( Jury Selection set for 8/3/2020 and Jury Trial set for 8/3/2020 in
Courtroom 10A South before Judge Raymond J. Dearie.) Motion schedule: Motion(s)
due 3/9/2020; Opposition due 3/31/2020; Reply, if any, due: 4/15/2020. Case
adjourned to 5/1/2020 at 12:00 PM in Courtroom 10A South before Judge Raymond J.
Dearie. Motion(s) will be discussed at that time. With the consent of all parties. time
excluded from today through 5/1/2020 in the interest of justice. (Court Reporter
Anthony Frisolone.) (Galeano, Sonia) (Entered: 01/27/2020)

02/18/2020

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to George
Padula, III held on March 11, 2019, before Judge Jack B. Weinstein. Court
Reporter/Transcriber Linda D. Danelezyk, Telephone number 718-613-2330. Email
address: Linda_Danelczyk @nyed.uscourts.gov. Transcript may be viewed at the court
public terminal or purchased through the Court Reporter/Transcriber before the
deadline for Release of Transcript Restriction. After that date it may be obtained
through PACER.File redaction request using event "Redaction Request - Transcript"
located under "Other Filings - Other Documents". Redaction Request due 3/10/2020.
Redacted Transcript Deadline set for 3/20/2020. Release of Transcript Restriction set
for 5/18/2020. (Danelczyk, Linda) (Entered: 02/18/2020)

03/09/2020

MOTION to Dismiss Counts 7 & 8 of Superseding Indictment for failing to state an
offense pursuant to Fed.R.Crim.P. Rule 12(b)(3)(B)(v); dismissing the entire
Superseding Indictment or, at a bare minimum Counts 2 through 8 based on Govt's
knowing use of false testimony before the Grand Jury, in violation of the Due Process
Clause of the Fifth Amendment; and to Order the Gov't to immediately disclose Brady
material in its possession; direct the Gov't to provide reasonable 404(b) notice and
grant the defense leave to make additional motions that may become necessary as a
result of further discovery by George Padula, III. (Attachments: # | Declaration of
Chad Seigel, Esq., # 2 Exhibit Superseding Indictment, # 3 Exhibit Indictment, # 4
Exhibit Application for Search Warrant, # 5 Exhibit Affidavit in Support of Search
Warrant, # 6 Memorandum in Support Memorandum of Law in Support of
Defendant's Pretrial Motions) (Seigel, Chad) (Entered: 03/09/2020)

03/11/2020

NOTICE OF ATTORNEY APPEARANCE Genny Ngai appearing for USA. (Ngai,
Genny) (Entered: 03/11/2020)

03/11/2020

Letter to the Gov't pertaining to defendant's Motion to Dismiss filed March 9, 2020 as
to George Padula, III (Seigel, Chad) (Entered: 03/11/2020)

03/3 1/2020

MEMORANDUM in Opposition re 239 MOTION to Dismiss Counts 7 & 8 of
Superseding Indictment for failing to state an offense pursuant to Fed.R.Crim.P. Rule
12(b)(3)(B)(v); dismissing the entire Superseding Indictment or, at a bare minimum
Counts 2 through 8 based on Govt's knowi (Attachments: # 1 Exhibit A) ( McDonald,
James) (Entered: 03/31/2020)

04/14/2020

N
ts
too

REPLY TO RESPONSE to Motion re 239 MOTION to Dismiss Counts 7 & 8 of
Superseding Indictment for failing to state an offense pursuant to Fed.R.Crim.P. Rule
12(b)(3)(B)(v); dismissing the entire Superseding Indictment or, at a bare minimum
Counts 2 through 8 based on Govt's knowi (Attachments: # I Exhibit A) (Seigel, Chad)
(Entered: 04/14/2020)

04/14/2620.:17

(ago

PREPINCTIOARESPONSE 6 Moti dnl! Pe BI MGTIONGS Dishiss CaBA7*& Bf
Superseding Indictment for failing to state an offense pursuant to Fed.R.Crim.P. Rule
12(b)(3)(B)(v); dismissing the entire Superseding Indictment or, at a bare minimum
Counts 2 through 8 based on Govt's knowi CORRECTED VERSION OF DKT NO. 243
(Attachments: # 1 Exhibit A) (Seigel, Chad) (Entered: 04/14/2020)

04/29/2020

ELECTRONIC ORDER as to George Padula, III. Consistent with Chief Judge

| Mauskopfs Administrative Order No. 2020-15, dated 4/21/2020, time between
4/27/2020 and 6/15/2020 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161 et

| seq. and 18 U.S.C. § 3161(h)(7)(A). So Ordered by Judge Raymond J. Dearie on

| 4/29/2020. (Mulqueen, Ellen) (Entered: 04/29/2020)

05/11/2020 |

Minute Entry for telephonic conference held on 5/11/2020 before Judge Raymond J.
Dearie as to George Padula, III. re 239 Motion to Dismiss Counts 7 & 8 of
Superseding Indictment for failing to state an offense pursuant to Fed.R.Crim.P. Rule
12(b)(3)(B)(v). Following counsel appear telephonically: AUSA James McDonald &
Genny Ngai; Chad Seigel, Esq. (retained) as counsel for defendant. Defendant(in
custody) appears telephonically. Case called for motion conference. Defendant
advises Court that he willingly consents to proceed with the conference telephonically.
For the reasons stated on the record, defendant's motion (#239) is DENIED.
Discussion held. Given the unprecedented circumstances confronting us all, the
current trial date of 8/3/2020 is not viable. The Court will reschedule trial date for the
fall of 2020 as soon as practicable. With the consent of all parties, time is excluded
from today through 6/19/2020 in the interest of justice. Next conference scheduled for
6/19/2020 at 10:30AM. (Court Reporter David Roy.) (Mulqueen, Ellen) (Entered:
05/11/2020)

05/11/2020

ELECTRONIC ORDER denying 239 Motion to Dismiss as to George Padula III (2).
(SEE MINUTE ENTRY OF 5/11/2020) So Ordered by Judge Raymond J. Dearie on
5/11/2020. (Mulqueen, Ellen) (Entered: 05/11/2020)

05/11/2020

Terminate Deadlines and Hearings as to George Padula, III: (Mulqueen, Ellen)
(Entered: 05/11/2020)

06/19/2020

Minute Entry for video status conference held on 6/19/2020 before Judge Raymond J.
Dearie as to George Padula. Case called for status conference. AUSA James
McDonald and Genny Ngai appear. Chad Seigel(retained) appears as counsel for
defendant. Defendant (in custody) appears. After private consultation with counsel,
defendant advises that he knowingly & voluntarily waives his right to appear in person
in open court and consents to video conference. Court finds, as required under the
Cares Act, that the conference cannot be further delayed without serious harm to the
interest of justice. Discussion held. Court is advised that plea discussions are ongoing.
Counsel jointly request that time be excluded. Court approves request, exclusion
continues on consent, in the interest of justice. Case adjourned to 8/7/2020 at 10:30am
for next video/telephonic status conference. (Court Reporter Lisa Schmid.)
(Mulqueen, Ellen) (Entered: 06/19/2020)

06/22/2020

ORDER terminating 198 Motion to Vacate as to George Padula III (2); terminating
198 Motion to Dismiss as to George Padula III (2). Motion ruled on by Judge
Weinstein on 8/27/2019. See ECF 205 . So Ordered by Judge Raymond J. Dearie on
6/22/2020. (Mulqueen, Ellen) (Entered: 06/22/2020)

06/22/2020

ORDER terminating 206 Motion for Reconsideration as to George Padula III (2).

Case 1:17

Cr COB RAGES Ce Rnd RRGH BY BoE Abel FLARES, BARR BRL MeMBAGHP Bed td®

motion for reconsideration. Motion ruled on by Judge Weinstein on 12/11/2019. See
ECF 226 . So Ordered by Judge Raymond J. Dearie on 6/22/2020. (Mulqueen, Ellen)
(Entered: 06/22/2020)

06/22/2020

‘ORDER terminating 230 Motion for Psychiatric Exam as to George Padula III (2).

| Hearing held on 1/21/2020 before Judge Weinstein. Ruling rendered on the record. So
| Ordered by Judge Raymond J. Dearie on 6/22/2020. (Mulqueen, Ellen) (Entered:

| 06/22/2020)

06/22/2020

ORDER finding as moot 209 Motion to Continue as to George Padula III (2).
Terminated as moot. So Ordered by Judge Raymond J. Dearie on 6/22/2020.
(Mulqueen, Ellen) (Entered: 06/22/2020)

06/22/2020

ORDER finding as moot 84 Motion for Extension of Time to File as to George Padula
III (2). Terminated as moot.Ordered by Judge Raymond J. Dearie on 6/22/2020.
(Mulqueen, Ellen) (Entered: 06/22/2020)

06/22/2020

ORDER terminating 53 Motion for Bond as to George Padula III (2). So Ordered by
Judge Raymond J. Dearie on 6/22/2020. (Mulqueen, Ellen) (Entered: 06/22/2020)

06/22/2020

ORDER terminating 69 Motion to Withdraw as Attorney. as to George Padula III (2).
Gerald McMahon filed a notice of appearance on 2/27/2018. So Ordered by Judge
Raymond J. Dearie on 6/22/2020. (Mulqueen, Ellen) (Entered: 06/22/2020)

06/23/2020

ORDER Re: 86 Motion For Severance is terminated as moot in light of superseding
indictment being filed on 10/29/2019 and guilty pleas entered of co-defendants. So
Ordered by Judge Raymond J. Dearie on 6/23/2020. (Mulqueen, Ellen) (Entered:
06/23/2020)

07/20/2020

246

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to George
Padula, III held on January 21, 2020, before Judge Jack B. Weinstein. Court
Reporter/Transcriber David R Roy, Telephone number (718) 613-2609. Email address:
drroyofcr@ gmail.com. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for Release of
Transcript Restriction. After that date it may be obtained through PACER.File
redaction request using event "Redaction Request - Transcript" located under "Other
Filings - Other Documents". Redaction Request due 8/10/2020. Redacted Transcript
Deadline set for 8/20/2020. Release of Transcript Restriction set for 10/19/2020. (Roy,
David) (Entered: 07/20/2020)

07/27/2020

ELECTRONIC RESCHEDULING ORDER as to George Padula, III. Counsel are

advised that the Video Status Conference currently scheduled for 8/7/2020 is

rescheduled to 8/10/2020 at 12:00pm. DIAL IN NUMBER 571-353-2300. ACCESS

| CODE: 934666753. So Ordered by Judge Raymond J. Dearie on 7/27/2020.
(Mulqueen, Ellen) (Entered: 07/27/2020)

07/27/2020

Terminate Deadlines and Hearings as to George Padula, III: (Mulqueen, Ellen)
(Entered: 07/27/2020)

08/10/2020

Minute Entry for video status conference held on 8/10/2020 before Judge Raymond J.
Dearie as to George Padula, IIJ. AUSA James McDonald & Genny Ngai appear. Chad
Seigel(retained) appears as counsel for defendant. Defendant(in custody) appears.

Defense counsel advises Court that he and his client have had an opportunity to speak

Case Ld 7ycr-004

DBrivately Bad 'that Gererdane WaivesUppearande in Gen Count BA dgress to *appeaP via
video. Defense counsel further advises Court that his client will be pleading shortly,
requests time to confer with his client. Parties jointly request time be excluded. Court
approves joint request. Time from today through 9/11/2020 is excluded in the interest
of justice. Case adjourned to 9/11/2020 at 10:30am. (Court Reporter Charleane
Heading.) (Mulqueen, Ellen) (Entered: 08/10/2020)

08/19/2020

247

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to George
Padula, III held on 010920, before Judge WEINSTEIN. Court Reporter/Transcriber
rivka teich, Telephone number 17186132268. Email address: rivkateich@ gmail.com.
Transcript may be viewed at the court public terminal or purchased through the Court
Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
that date it may be obtained through PACER File redaction request using event
"Redaction Request - Transcript" located under "Other Filings - Other Documents".
Redaction Request due 9/9/2020. Redacted Transcript Deadline set for 9/21/2020.
Release of Transcript Restriction set for 11/17/2020. (Teich, Rivka) (Entered:
08/19/2020)

08/2 1/2020

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to George
Padula, IH held on October 30, 2019, before Judge Jack B. Weinstein. Court
Reporter/Transcriber Georgette K. Betts, Telephone number 718.804.2777. Email
address: Georgette_Betts@nyed.uscourts.gov. Transcript may be viewed at the court
public terminal or purchased through the Court Reporter/Transcriber before the
deadline for Release of Transcript Restriction. After that date it may be obtained
through PACER .File redaction request using event "Redaction Request - Transcript”
located under "Other Filings - Other Documents". Redaction Request due 9/11/2020.
Redacted Transcript Deadline set for 9/21/2020. Release of Transcript Restriction set
for 11/19/2020. (Betts, Georgette) (Entered: 08/21/2020)

09/09/2020

MOTION to Continue September 11, 2020 Status Conference by George Padula, III.
(Seigel, Chad) (Entered: 09/09/2020)

09/10/2020

ELECTRONIC ORDER 249 Motion to Continue as to George Padula III (2). Defense
counsel requests an adjournment of conference currently scheduled for 9/11/2020 due
to his inability to confer with his client and further requests time be excluded for
speedy trial purposes from 9/11/2020 through 9/25/2020. Application Approved as
follows: Conference rescheduled to 9/21/2020 at 10:30am. Time excluded from
9/11/2020 through 9/25/2020. So Ordered by Judge Raymond J. Dearie on 9/10/2020.
(Mulqueen, Ellen) (Entered: 09/10/2020)

09/10/2020

ELECTRONIC RESCHEDULING ORDER as to George Padula, III. Counsel are
advised that the teleconference currently scheduled for 9/11/2020 is rescheduled to
9/21/2020 at 10:30am. Toll Free Dial In Number: 571-353-2300. Access Code:
934666753. So Ordered by Judge Raymond J. Dearie on 9/10/2020. (Mulqueen, Ellen)
(Entered: 09/10/2020)

09/2 1/2020

ho
La
iO

Minute Entry for proceedings held before Judge Raymond J. Dearie:Teleconference
Pleading as to George Padula, III held on 9/21/2020. After private consultation with
his counsel, defendant advises that he waives his right to appear in person in open
court and consents to pleading being held by video conference. The court finds, as
required under The Cares Act, that the pleading conference in this case cannot be
further delayed without serious harm to the interest of justice. Defendant withdraws
previously entered Plea of Not Guilty and enters a Plea of Guilty to Counts |s,2s,7s of

Case 1:17}cr-O0hife-Stipersdding Pirie hnseit? S énténaia g SEO ford /2272023 201 2H0 PM lik Courtteom
10A South before Judge Raymond J. Dearie. Sentence submissions due as follows:
Defense: 1/8/2021; Government: 1/15/2021, with courtesy copies to Chambers and
assigned Probation Officer. (Court Reporter Holly Driscoll.) (Tavarez, Jennifer)
(Entered: 09/21/2020)

11/06/2020 252 | Letter in Opposition to Defendant's Motion (ECF Dkt. 251) as to George Padula, III
(McDonald, James) (Entered: 11/06/2020)

11/10/2020 253 | ORDER as to George Padula, III: Application to seal is denied. Counsel authorized to
file redacted copy. Ordered by Judge Raymond J. Dearie on 11/9/2020. (Fernandez,
Erica) (Entered: 11/10/2020)

"11/13/2020 ORDER as to George Padula, III re 251 Motion. Applications denied. Mr. Padula will
first present any concerns about out-of-cell time or e-mail difficulties to the Bureau of
Prisons. Counsel for Mr. Padula is invited to advise the Court of any difficulties with
the Corrlinks operation. So Ordered by Judge Raymond J. Dearie on 11/13/2020.
(Baltimore, Molly) (Entered: 11/13/2020)

First MOTION to Continue Sentencing by George Padula, III. (Seigel, Chad)
(Entered: 01/04/2021)

01/04/2021

INO
an
JA

01/05/2021 ELECTRONIC ORDER granting 255 Consent Motion to Continue Sentencing as to
George Padula III (2). Sentencing rescheduled to 3/15/2021 at 12:00pm in Courtroom
10A South before the undersigned. Briefing Schedule Revised as follows: Objections
to the Pre Sentence Report due 1/27/2021; defense sentence submission due
2/22/2021; government sentence submission due 3/3/2021. Counsel are directed to
send a courtesy copy of their submission, including objections to pre sentence report,
to chambers and assigned Probation Officer. So Ordered by Judge Raymond J. Dearie
on 1/5/2021. (Mulqueen, Ellen) (Entered: 01/05/2021)

ON

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to George
Padula, III held on April 24, 2019, before Judge Weinstein. Court Reporter/Transcriber
Charleane M. Heading, Telephone number 718-613-2643. Email address:
cheading@aol.com. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for Release of
Transcript Restriction. After that date it may be obtained through PACER .File
redaction request using event "Redaction Request - Transcript" located under "Other
Filings - Other Documents". Redaction Request due 2/16/2021. Redacted Transcript
Deadline set for 2/26/2021. Release of Transcript Restriction set for 4/26/2021.
(Heading, Charleane) (Entered: 01/26/2021)

01/26/2021 25

|

~]

02/22/2021 2 SENTENCING MEMORANDUM by George Padula, III (Attachments: # 1 Exhibit

A, #2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
G, #8 Exhibit H, # 9 Exhibit 1, # 10 Exhibit J, # 11 Exhibit K, #12 Exhibit L, # 13
Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P) (Seigel, Chad) (Entered:
02/22/2021)

MOTION for Forfeiture of Property by USA as to George Padula, III. (Attachments: #
1 Proposed Order) (Kedeshian, Claire) (Entered: 02/24/2021)

02/24/2021 2

joo

NO

02/26/2021 259 | Letter Requesting Adjournment of Government Sentencing Submission and
Defendant's Sentencing Date as to George Padula, III (Ngai, Genny) (Entered:

02/26/2021)

Case-1:17-¢r-00664-PKC-RER Document 331 Filed 10/01/23 Page 34 of 44 PagelD-#-3724
03/01/2021 ELECTRONIC ORDER as to George Padula, III re 259 Consent letter from
government counsel requesting an extension of time to file sentence submission &
adjournment of sentence currently scheduled for 3/15/2021. Request Granted.
Sentence adjourned to 4/28/2021 at 10:30am before the undersigned. Sentence will be
held by video teleconference unless counsel are advised otherwise by the Court.
Government sentence submission due on or before 3/31/2021. So Ordered by Judge

Raymond J. Dearie on 3/1/2021. (Mulqueen, Ellen) (Entered: 03/01/2021)

03/01/2021 Terminate Deadlines and Hearings as to George Padula, III: (Mulqueen, Ellen)
(Entered: 03/01/2021)

1

03/01/2021

No
IS
So

ORDER granting 258 Motion for Forfeiture of Property as to George Padula III (2).
The Clerk of the Court is directed to send, by inter-office mail, four (4)certified copies
of this executed Order to the United States Attorneys Office, Eastern District of New
York, Attn: FSA Paralegal, Nicole Brown, 271-A Cadman Plaza East, Brooklyn, New
York 11201. SO Ordered by Judge Raymond J. Dearie on 3/1/2021. (Tavarez,
Jennifer) (Entered: 03/01/2021)

No
oo

Letter Requesting Adjournment of Government Sentencing Submission as to George
Padula, III] (Ngai, Genny) (Entered: 03/25/2021)

03/25/2021

03/25/2021 ELECTRONIC ORDER as to George Padula, III re 268 Letter from government
counsel requesting an extension of time to file their sentence submission, with the
consent of defense counsel. Request Approved. Government submission due on or
before 4/9/2021. So Ordered by Judge Raymond J. Dearie on 3/25/2021. (Mulqueen,
Ellen) (Entered: 03/25/2021)

04/09/2021 272 | SENTENCING MEMORANDUM by USA as to George Padula, III (Attachments: # 1
Exhibit A: Firearm Report, # 2 Exhibit B: Data Disc (Not Filed on ECF)) (McDonald,
James) (Entered: 04/09/2021)

04/19/2021 277 | MOTION to Continue Sentencing by George Padula, III. (Seigel, Chad) (Entered:
04/19/2021)

04/20/2021 ELECTRONIC ORDER granting 277 Consent Motion to Continue Sentencing as to
George Padula III (2). Sentence currently scheduled for 4/28/2021 is adjourned to
6/17/2021 at 12:00pm in Courtroom 10A South before the undersigned. Sentence will
be held in person. Defense reply, if any, due 6/4/2021. So Ordered by Judge Raymond
J. Dearie on 4/20/2021. (Mulqueen, Ellen) (Entered: 04/20/2021)

No
KO

Letter on behalf of George Padula, in response to the Government's sentencing letter
dated April 9, 2021 as to George Padula, III (Attachments: # 1 Exhibit A, # 2 Exhibit
B, # 3 Exhibit C, # 4 Exhibit D) (Seigel, Chad) (Entered: 05/28/2021)

05/28/2021

06/04/2021 ELECTRONIC RESCHEDULING ORDER as to George Padula, II]. Counsel for
defendant, Chad Seigel, advises that his client is requesting to be sentenced by video
conference. In light of this request, the in person sentence currently scheduled for
6/17/2021 is rescheduled to 6/28/2021 at 10:30am. Sentence will be held by video.
Public dial in number: 571-353-2300. Access Code: 934666753. So Ordered by Judge
Raymond J. Dearie on 6/4/2021. (Mulqueen, Ellen) (Entered: 06/04/2021)

06/04/2021 Terminate Deadlines and Hearings as to George Padula, II: (Mulqueen, Ellen)
(Entered: 06/04/2021)

06/28?262 11:17

21940

OM irtie Entry foPprosecdihgs held ikefore/Nidge Ragatore Nibdaheagvides: Sentencing
held on 6/28/2021 for George Padula, III (2), Count(s) 1, 10, 11, 2,3, 3s, 4, 4s, 5s, 6s,
7,8, 8s, 9, Dismissed on Motion of the United States; Count(s) 1s, 2s, 7s,
Imprisonment: Count 1: 42 months; Count 7: 42 months to run concurrently to the
term imposed in Count 1; Count 2: 24 months, to run consecutively to the terms
imposed in Counts | and 7; Supervised Release s: 2 years with Special Condition;
Special Assessment: $300; Restitution: $559,911.26; Forfeiture Order. Court

Rivka Teich) (Lee, Tiffeny) (Entered: 07/09/2021)

recommends designation to MDC and placement in CADRE Program. (Court Reporter |

07/09/2021

JUDGMENT as to George Padula, III (2), Count(s) 1, 10, 11,2, 3, 3s, 4, 4s, 5s, 6s, 7,
8, 8s, 9, Dismissed on Motion of the United States; Count(s) Is, 2s, 7s, Imprisonment:
Count 1: 42 months; Count 7: 42 months to run concurrently to the term imposed in
Count 1; Count 2: 24 months, to run consecutively to the terms imposed in Counts |
and 7; Supervised Release with Special Conditions: 2 years; Special Assessment:
$300; Restitution: $559,911.26; Forfeiture Order. The Court recommends designation
to the MDC and placement in the CADRE Program. So Ordered by Judge Raymond J.
Dearie on 6/28/2021. (Attachments: # | Forfeiture Order) (Lee, Tiffeny) (Entered:
07/09/2021)

08/10/2021

Certificate of Service by USA as to George Padula, III Affidavit of publication, lefal
notice was given on the official government website www,forfeiture.gov, beginning on
July 10,2021 and ending on August 8, 2021. (Kedeshian, Claire) (Entered:
08/10/2021)

12/01/2021

First MOTION for First Step Act by George Padula, III. (Attachments: # | Exhibit A -
Letter to Warden) (Marrone, Gerard) (Entered: 12/01/2021)

01/04/2022

NOTICE OF ATTORNEY APPEARANCE: Gerard M. Marrone appearing for George
Padula, III (Marrone, Gerard) (Entered: 01/04/2022)

01/21/2022

Letter status on first step action motion filed as to George Padula, III (Marrone,
Gerard) (Entered: 01/21/2022).

01/24/2022

RESPONSE in Opposition re 312 First MOTION for First Step Act (Ngai, Genny)
(Entered: 01/24/2022)

02/28/2022

MEMORANDUM and ORDER denying 312 Motion for First Step Act as to George
Padula III (2). SO Ordered by Judge Raymond J. Dearie on 2/28/2022. (Tavarez,
Jennifer) (Entered: 02/28/2022)

03/29/2022

MOTION for Forfeiture of Property Proposed Final Order of Forfeiture by USA as to
George Padula, III. (Attachments: # 1 Proposed Order) (Kedeshian, Claire) (Entered:
03/29/2022)

03/30/2022

ORDER granting 324 Motion for Forfeiture of Property as to George Padula III (2). IT
IS FURTHER ORDERED that the Clerk of Court shall send by inter-officemail three
(3) certified copies of this executed Final Order of Forfeiture to the United States
Attomey's Office, Eastern District of New York, Attn: WITS Paralegal, Nicole Brown
271- A Cadman Plaza East, Brooklyn, New York 11201.SO Ordered by Judge
Raymond J. Dearie on 3/30/2022. (Tavarez, Jennifer) (Entered: 03/30/2022)

Case 1:17-cr-00664-PKC-RER Daren Canes érvitecdeters Page 33 of 4

|

Transaction Receipt

|

09/20/2023 15:25:26

oaine pdpjrl1998 Client Code:

ogin:

Desériation: Docket Search 1:17-cr-00664-RJD-
Pom Report Criteria: RER

oo 20 Cost: 2.00

Pages:

4 PagelD #: 3723

Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 34 of 44 PagelD #: 3724
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 35 of 44 PagelD #: 3725

RICHARD B. KRUEGER, M.D.

Clinical Professor of Psychiatry, Columbia University, College of Physicians & Surgeons
Diplomate in Psychiatry, American Board of Psychiatry & Neurology 315 EAST 68th STREET, #6-C
Diplomate, American Board of Internal Medicine NEW YORK, NEW YORK 10065-6024
Diplomate, ABP&N, Added Qualifications in Forensic Psychiatry TELEPHONE (917)750-1596
Diplomate, ABP&N, Added Qualifications in Addiction Psychiatry e-mail rbki@cumc.columbia.edu

June 215, 2022

Paul Petrus, Jr., Esq.

350 Fifth Avenue, Suite 3601

New York, New York 101181

By email to: paul@petruslaw.com

Re: Psychiatric Evaluation of Mr. George Padula

Dear Mr. Petrus:

| conducted a psychiatric evaluation of Mr. George Padula on June 13", 2022, to
ascertain if he had any mental health conditions which required treatment.

He has no such conditions and is not in need of any mental health treatment.
Please do not hesitate to contact me if you have any further questions.

| have included a copy of my resume for your information.

Sincerely,

Dell @.Coore, W.0.

Richard B. Krueger, M.D.
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 36 of 44 PagelD #: 3726
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 37 of 44 PagelD #: 3727

July 10° 2023
Genco Management Co Inc.
200 Crown Ave

Staten Island, NY 10312

To Whom It May concern,

This letter is to verify that George Padula has been employed with Genco Management Co Inc part time
with us since 3/13/2023 until present. George has always been on time and been a good employee. !f
you have any questions please do not hesitate to call me at (917)650-3620.

Michael Se

President

JENNIFER BOLOTIN
NOTARY PUBLIC, STATE OF NEW YORK
Registration No. 01B06431142
Qualified in Richmond County
Commission Expires March 28, 2026

7
swoon 40 me {Ns
io day OF JUlY MOS

Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 38 of 44 PagelD #: 3728
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 39 of 44 PagelD #: 3729

Sn ee a Te Ta AEA |

Print Date: 08/03/2023

s Unofficial Transcript
University of Phoenixe Not For Official Use
Record of:
Sea [ BSB/MK Program GPA :3.96
eee wae teases | CERT/MKT Program GPA : 0.00
Birthdate:
Enrollment Status:
| Active-Full Time
Enrollment Status Effective Date:
09/13/2022
UNIVERSITY OF PHOENIX
Mo/Year | CourseID | Course Title Grade | Credits Credits Quality | Rep
Attempted | Earned Points
09/2022 GEN/201 Foundations for University Success A 3.00 3.00 12.00
10/2022 PSY/110 Psychology of Leaming A 3.00 3.00 12.00
11/2022 ENG/110 English Composition I A 3.00 3.00 12.00
01/2023 HUM/115 Critical Thinking in Everyday Life A 3.00 3.00 12.00
02/2023 FP/100T Everyday Economics and Finances A 3.00 3.00 12.00
03/2023 ENG/210 English Composition IT A 3.00 3,00 12,00
04/2023 COM/295T | Business Communications A- 3.00 3.00 11.01
05/2023 BIS/221T Introduction to Computer Applications | A 3.00 3.00 12.00
and Systems
GPA
GPA Credits Attempted | Credits Earned Quality Points
Total Curnulative Credits: 24.00
UOPX Cumulative: 3.96 24.00 24.00 95.01

End of Unofficial Transcript

Page | of I

he

MAS
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 40 of 44 PagelD #: 3730

&

University of Phoenixe

4035 S Riverpoint Parkway
Fhoanix, AZ 85040

July 15, 2023

George Padula
54 Florence Place
Staten Island, NY 10309

Dear George,

It is my great pleasure to congratulate you on your exceptional academic achievement for the first half of calendar
year 2023, and to inform you that you have earned a place on the College of Business and Information Technology
Dean's List.

Dean's List recognition is a remarkable accomplishment. Students must complete a minimum number of credits
and eam a GPA of at least 3.50 during a six-month period.

At University of Phoenix we are proud of our entire student body of dedicated and driven working adults, especially
students like you who demonstrate the grit and determination to not only succeed, but to excel in your pursuit of
academic and professional goals.

We look forward to recognizing your achievements throughout your program, including the possibility for being
recognized on your diploma and official transcript as graduating with honors at the end of your program-a
distinction for graduates of our associate and bachelor's degree programs with a final program GPA of 3.70 or
higher. In the meantime, your current GPA may qualify you to join an honor, academic, or professional society. I
encourage you to visit the website below for more information about the student organizations that are recognized
by the University, and to determine whether you qualify.

https:/Avww.phoenix.edu/students/recognized-student-organizations. html

On behalf of Kathryn Uhles, Dean of the College of Business and Information Technology, I want to commend
you for your outstanding accomplishment, and to wish you continued success in your studies.

Sincerely,

A

Dr. John Woods
Provost, University of Phoenix
Case 1:17-cr-00664-PKC-RER Document 331 Filed 10/01/23 Page 41 of 44 PagelD #: 3731
Case 1:17-cr¢

+ membership 1
e, future

1, and résumé
choice.

online at
your

igital

juncing you as

you can
kage

hip

ember sticker

the
‘emony. More
will be sent

UNIVERSITY OF PHOENIX
CORDIALLY ANNOUNCES THE NOMINATION OF |

GEORGE PADULA

TO
THE NATIONAL SOCIETY
OF LEADERSHIP AND SUCCESS

FALL SEMESTER, 2023

University of

August 23, 2023

POUNDHD 1894
George Padula

Manor Inspire, Engage. 54 Florence Pl
7 Staten Island, NY 10309

Dear George:

Distinguished . it
Members Congratulations! It is our privilege to inform you
that you have been nominated for membership in The National

Thn Tebow
Society of Collegiate Scholars (NSCS).

Unwernty of Flonds

NFL Quarterback
Member Since 2007 5 ly
Our mission is to publicly recognize and elevate

Alexis Ohanian ; Ste

Poy cae high-achievers like you, George. This is a prestigious

Member Since 2002 national honor reserved for students with a 3.4 GPA or

Yang Hulyan above. NSCS is one of the few collegiate honor societies to

The Ohio State University extend lifetime membership to first- and second-year
‘undergraduate college students.

i you should feel proud of this prestigious national
recognition of your outstanding work here at University of
Phoenix. Your hard work has earned you a place among the
elite of today's college students.

You will certainly want to include your membership in
NSCS as part of your ongoing academic profile, future
applications for admission to graduate school, and résumé
credentials as you pursue the career of your choice.

Once you accept this invitation either online at
join.nscs.org or by completing and returning your
MEMBERSHIP CONFIRMATION you will receive a digital
membership certificate and press release announcing you as
our newest member.

In addition, a few weeks after joining, you can
choose to receive your New Member welcome Package
containing your official personalized Membership
Certificate, your NSCS member pin, and NSCS member sticker

NATIONAL SOCIETY °
GO COLLEGIATE. scncenne by mail.

You will also be invited to take part in the

2000 M Street NW, Suite 480G
Washington, D.C, 20036 . . ‘ s
University of Phoenix New Member Induction Ceremony. More

Phone 202.265.9000 :
details on your New Member Induction Ceremony will be sent
after you accept your membership.

nscs.org

me. 1S Univarcites af Dhaaniv

Tim Tebow
Alexis Ohanian

Yang Huiyan
Mike Manning

Brigetta Barrett

Zach Wahls

Erika Dunlap

Chapter Officers

Jniversity of Phoenix

anda Bentley
anait Issiet

ijel Brocato
nielle Tumer

Distinguished Members

ER

Diver est pal Caen Ota
Le Ampere Sy

Tin Amaning Mace convent nn
Samnhor Sinea 2001

George Padula
Uotversiy ed Phaanie
Phaetanding Seladar

Noininated 2077

Ihe NATIONAL BOOGIE nf
COLLEGIATE BEHOLARA

(DOD AL Spot NAW. Soule SOG
Wooebirpeten DO SOB R6

Phene 2O2 268 ANDO

NS&CS,OTR

University of Florida, NFL Quarterback
University of Virginia, Co-Founder, Reddit
The Ohio State University, Real Estate Developer

University of Northem Colorado Actor, Producer,
Reality Television Personality

University of Arizona, Olympic Silver Medalist,
women's high jump

University of lowa, lowa State Senator,
LGBTQ+ Activist, Author

University of Central Florida, Miss America 2004 /
The Amazing Race contestant

Chapter President
Executive Vice President
VP, Community Service
VP, PACE

Exaguament 331; FRc shy Gr/es

| containing your o

eM AU MW IMAtIA 3734

FIRMATION Y release announcing you a5

CON
MEMBERSHIP <ificate and press

membership cer
our newest member.
ter joining, you can
r Welcome Package
Jized membership
and NSCS member

tn addition, a fen weeks
ive Your
choose to recel ee cial persona

: sticker
nscs member pin,

certificate, your
, by mail.
| you will also be

ij uc
university of Phoenix New weet 2 SCH
‘details on your New Member Induc

lafter you accept your membership.

part ain the
tion Ceremony. More
will be sent

invited to take

University of Phoenix

Chapter of

The NATIONAL SOCIETY
of COLLEGIATE SCHOLARS

hereby nominates

George Padula

for
MEMBERSHIP
| in recognition of
your commitment to
the ideals of

SCHOLARSHIP, LEADERSHIP, & SERVICE

t
A

E

ATTA,

vt

Stephen E. Loflin
ia Founder

